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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

CINDY L. RESCHKE

       Plaintiff,
                                        CASE NO.: 3:21-cv-01081-MMH-PDB
vs.

TARGET CORPORATION, a
Foreign Profit Corporation

     Defendant.
_______________________________/

               STIPULATION TO REMAND REMOVED ACTION

       Plaintiff, CINDY L. RESHKE, and Defendant, TARGET CORPORATION,

hereby stipulate as follows:

       1.      On September 24, 2021, the Plaintiff filed her Complaint against

Defendant, Target Corporation in the Fourth Judicial Circuit in and for Duval

County, Florida.

       2.      On October 28, 2021, Defendant, Target Corporation, filed a Notice of

Removal, and this action was subsequently removed from the Fourth Judicial Circuit

in and for Duval County, Florida to this Court on the basis of this matter falling

within the jurisdictional limitations of the court and that there was diversity among

the parties.
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      3.     After further discussion pursuant to Local Rule 3.01(g), Local Rules of

the United District Court for the Middle District of Florida, the parties have agreed

the action should be remanded to the Fourth Judicial Circuit in and for Duval County,

Florida. Specially, if the case remains in this Court, the Plaintiff intends to amend

the Complaint to name as a party, the Target employee who was pushing a cart which

allegedly struck the Plaintiff causing her to fall. The presence of this individual, as

a Defendant, who is a Florida resident, would defeat diversity jurisdiction. To that

end, the parties hereby stipulate the action be remanded to the Fourth Judicial Circuit

in and for Duval County, Florida.

      4.     The parties further stipulate that each party shall bear their own

attorney’s fees and costs with respect to the removal and subsequent remand of the

action pursuant to this Stipulation.

/s/ John C. Thomas                            /s/ Joseph B. Stokes, III
________________________                      _________________________
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Dated: 12/15/2021                             Dated: 12/15/2021
